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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION




         CHANGE OF PLEAIN USA v. Jessica Tabuteau

         CRIMINAL NO. CR218-14       AT Brunswick. OA




          ***************************************************




                      WITH CONSENT OF THE COURT,THE

              DEFENDANT            Jessica Tabuteau          ^ HAVING

          PREVIOUSLY ENTERED A PLEA OF

          HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

          Qp Guilty               TO Count 1 (one)- lesser included

          IN THE INDICTMENT.



                      THIS   28   DAY OF              September       , 2018.




NOLLE PROSSE AS
                                                               Jessica Tabuteau DEFENDANT
TO COUNT(S)


                                                            COUNSEL FOR DEFENDANE
                                                                                Jason Clark
